         Case 1:21-cv-10877-GAO Document 20 Filed 12/07/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

BLACK 13 ENTERPRISE, INC.,                          )
                                                    )       Case No. 1:21-cv-10877-GAO
v.                                                  )
                                                    )
TFL FRANCHISE SYSTEMS LLC,                          )
                                                    )

                         TFL FRANCHISE SYSTEMS, LLC’S
                 SECOND SUPPLEMENTAL MEMBERSHIP DISCLOSURE

       Pursuant to the Court’s Order dated December 1, 2021, defendant TFL Franchise

Systems, LLC hereby discloses that the following individuals constitute the members of the

limited liability company:       Barry L. McMenimon (Massachusetts resident), Barry P.

McMenimon (Massachusetts resident), Brett M. McMenimon (Massachusetts Resident),

Franchise Scale, Inc., (California corporation), Dennis Mulganon, President (California resident),

and BatchCo Holdings, LLC, Geoff Batchelder, Manager. The members of BatchCo Holdings,

LLC are: Geoff Batchelder (California resident) and Jessie K. Batchelder (California resident.)

                                     Respectfully submitted by,
                                     TFL FRANCHISE SYSTEMS, LLC,
                                     By its attorney,

                                     /s/ Christopher A. Callanan
                                     __________________________________
                                     Christopher A. Callanan (BBO# 630649)
                                     CALLANAN LAW LLP
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                                                1
         Case 1:21-cv-10877-GAO Document 20 Filed 12/07/21 Page 2 of 2




                                   CERTIFICATE OF SERVICE

        I certify that I served a copy of the above-document to be served on counsel for plaintiff
via the ECF system on December 7, 2021.

                                     /s/ Christopher A. Callanan
                                     __________________________________




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